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                                                  Entered on Docket
                            ___________________________________________________________________
                                5January 10, 2022

                                                  6
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                                                 15
                                                                                UNITED STATES BANKRUPTCY COURT
                                                 16
                                                                                         DISTRICT OF NEVADA
                                                 17
                                                      In re:
                                                 18                                                            Case No. 21-14486-abl
                                                               INFINITY CAPITAL MANAGEMENT,                    Chapter 7
                                                 19   INC.
                                                 20                          Debtor.
                                                 21
                                                                 ORDER GRANTING EX PARTE MOTION FOR AN ORDER DIRECTING
                                                 22                  EXAMINATION PURSUANT TO FED. R. BANKR. P. 2004 OF
                                                                                     KEVIN GRIMES
                                                 23
                                                               This Court having reviewed the Ex Parte Motion for Order Directing Examination Pursuant
                                                 24
                                                      to Fed. R. Bankr. P. 2004 of Kevin Grimes (the “Motion”) filed by HASelect-Medical Receivables
                                                 25
                                                      Litigation Finance Fund International SP (“HASelect”) and for good cause appearing:
                                                 26
                                                               IT IS HEREBY ORDERED that the Motion is GRANTED.
                                                 27
                                                               IT IS FURTHER ORDERED that Kevin Grimes, shall appear for an examination under oath
                                                 28

                                                                                                 Page 1 of 2
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                                                  1   before a certified court reporter at a time, place, and date to be mutually agreed upon by the parties,

                                                  2   or if no such agreement is reached, upon no less than fourteen (14) calendar days’ written notice by

                                                  3   HASelect, as to any matter permitted by Fed. R. Bankr. P. 2004, including but not limited to the

                                                  4   matters specifically enumerated in the Motion.

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                                                             IT IS SO ORDERED.
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                                                      Submitted by:
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                                                      SHEA LARSEN
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                                                 10
                                                      /s/ Bart K. Larsen, Esq.
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